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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Criminal No. 22-158 (ECT)

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )
                                               )   GOVERNMENT’S SENTENCING
               v.                              )   MEMORANDUM
                                               )
 JAY JAMES OLSON,                              )
                                               )
                      Defendant.               )

       The United States of America, by and through its undersigned attorneys, hereby

respectfully submits its position and memorandum on sentencing.            For the reasons

contained herein, the United States recommends a sentence of imprisonment of 60 months,

the high-end of the applicable Guidelines range of 57 to 60 months, as a sentence that is

sufficient, but not greater than necessary, to comport with the § 3553(a) sentencing factors.

            RELEVANT FACTS AND PROCEDURAL BACKGROUND

       The United States agrees with, and incorporates by reference, the facts from the

“Offense Conduct” section of the PSR, ¶¶ 7-20, as well as those facts from the Plea

Agreement (ECF 35, ¶ 2).

       Between at least the fall of 2021 and continuing through April 2022, the defendant

willfully engaged in the business of manufacturing firearms without a license. The

defendant devoted time, attention, and labor to manufacturing firearms with the principal

objective selling the manufactured firearms for profit. The defendant has never been a

federally licensed manufacturer of firearms.
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      During March and April 2022, the defendant negotiated and offered to sell various

unserialized firearms he manufactured, (commonly known as “personally made firearms”

or “PMFs” or “ghost guns”), as well as multiple other firearms and accessories, including

a silencer, a machinegun conversion device (“MCD”), (commonly known as a “switch” or

“auto-sear”), and high-capacity magazines, to a confidential source (“CS”) working with

police investigators, for $20,000 cash. The CS provided investigators with photos and

FaceTime videos the defendant sent from his cellphone to the CS depicting multiple

unserialized firearms and accessories the defendant offered for sale, including multiple

Polymer 80 (“P80”) Glock-style firearms, AR-style firearms, MCDs, a silencer, and

multiple high-capacity magazines. The defendant also showed the CS large quantities of

marijuana, touting its quality and potency, and indicated that he was smoking and selling

the marijuana.

      Investigators learned that the defendant at the time had pending criminal cases in

Stearns County for a May 2021 felony second-degree assault with a dangerous weapon (a

firearm), felony second degree riot – being armed with a dangerous weapon (a firearm),

and felony discharge of a firearm within a municipality, (PSR ¶ 48), and in Mille Lacs

County for an April 2022 fifth-degree possession of marijuana wax, (PSR ¶ 49). As part

of his conditions of release, the Stearns County District Court ordered in June 2021 that

the defendant “shall not possess any firearms,” and must surrender his firearms to the

Stearns County Sheriff’s Office within 48-hours of his release. (PSR ¶ 20)

      While the defendant was offering the firearms and accessories for sale to the CS,

the defendant stated that he manufactures the firearms and even manufactures his own gun


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barrels. The defendant also told the CS that he had other customers that were asking for

the PMFs he had built and was looking to sell them. The defendant expressly told the CS

that he would install an MCD or auto-sear switch on one of the P80 PMFs he built as part

of the potential sale offer to the CS. The CS told the defendant that the CS wanted all the

firearms offered, especially switches, to sell to others.

        The defendant touted the “benefits” of having firearms without serial numbers to

the CS, such as making them harder to trace even though he acknowledged their illegality,

and the defendant specifically noted that his price for the PMFs would be going up because

of the federal government’s recent initiative targeting unserialized firearms, and thereby

making it more dangerous to possess and sell such firearms.

        On April 26, 2022, the day of the arranged controlled buy, investigators provided

the CS with $20,000 in pre-marked and recorded U.S. currency, which was placed into a

backpack. The CS was fitted with an audio-video recording device. Investigators followed

the CS to the parking lot of the residence associated with the defendant. Other investigators

were already stationed in the parking lot to conduct surveillance.

        The CS met with the defendant inside the residence to effect the transaction. The

defendant provided the CS 16 PMFs, 9 high-capacity magazines, 1 silencer (made from an

oil filter),1 an MCD or switch, and other firearms accessories, which were all inside a black

plastic tote. Another plastic tote inside the residence contained additional firearms and

firearm assembly kits. The defendant asked a couple of associates to carry the black plastic


1
 The ATF verified that the silencer functioned and sufficiently dampened the sound of gunfire to meet the statutory
definition of a silencer, and it confirmed the silencer was not registered, as required by federal law.


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tote containing all the firearms and accessories to the CS’s vehicle and put it in the trunk.

In the parking lot by the vehicle, the CS handed the defendant the backpack containing the

pre-marked $20,000 of buy money. Immediately after the exchange, investigators moved

in and arrested the defendant and others present, seized the black tote, and recovered the

backpack with the buy money.

       Investigators then entered the one-bedroom apartment residence (which was being

used in part as a tattoo parlor) and executed an anticipatory search warrant. From the black

tote in the CS’s vehicle’s trunk, investigators seized the following, some of which are

depicted in the below photograph of various seized evidence:




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                  A. 9 empty high-capacity magazines, including 3 drum magazines, for P80-
                     style firearms;
                  B. 2 pistol carbine-conversion kits;
                  C. 1 firearm silencer;
                  D. a brass-catcher;
                  E. 3 AR “ghost” assembled pistols with no serial numbers (2 with inserted
                     high-capacity magazines not counted among the 9 magazines in A.);
                  F. 10 P80 PMF “ghost” assembled firearms with no serial numbers (in 5
                     boxes; 2 P80s each box);
                  G. 1 P80 PMF “ghost” assembled firearm with no serial number, with an
                     installed switch making it a fully automatic firearm;
                  H. 1 P80 PMF “ghost” assembled firearm with no serial number, with a
                     threaded barrel (to enable screwing the firearm silencer onto it); and
                  I. 1 P80 PMF “ghost” assembled firearm with no serial number.

          During the warrant-authorized search of the residence, investigators seized the

following, some of which are depicted in the above photograph of various seized evidence:

                  J. 2 loaded semiautomatic firearms in the bedroom / bedroom closet;2
                  K. 3 baggies containing over 200 grams of THC edibles in the kitchen;
                  L. 3 jars containing approximately 98 grams of THC wax in the bedroom
                     closet;
                  M. a cardboard box in the bedroom containing 78 THC vape cartridges,
                     THC wax, and 9 plastic baggies containing nearly 3.4 kilograms of
                     marijuana;
                  N. a cardboard box in the bedroom containing 500 THC vape cartridges
                     and $200 cash;
                  O. over $4100 cash from a safe in the bedroom;
                  P. miscellaneous paperwork in the bedroom for P.B. and A.G.;
                  Q. 3 P80 handgun lower assembly kits, from black plastic tote in kitchen;
                  R. 4 AR lower receivers with no serial numbers, from black plastic tote in
                     kitchen;
                  S. 1 AR upper with a bolt, from black plastic tote in kitchen;
                  T. 1 grey P80 assembled lower receiver with no serial number, from black
                     plastic tote in kitchen;

2   These, as well as other items found in the bedroom, are believed to be associated with A.G.


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               U. additional miscellaneous firearms parts and accessories, from black
                  plastic tote in kitchen; and
               V. a blue container in the garage containing four baggies of marijuana
                  totaling approximately 1.85 kilograms of marijuana.

       Investigators debriefed the CS after the arrest and listened to the CS’s audio-

recording of the transaction. They learned that the defendant showed the CS how to install

the MCD or switch on one of the P80 PMFs and converted it to a machinegun, and he told

the CS that he had a source returning from Detroit with metal switches, which the defendant

was planning to purchase. One of the other individuals present in the residence reached

inside the black tote, removed a firearm, and manipulated it. The defendant told that

individual to use a cloth and wipe down the firearm to remove the individual’s prints from

the firearm.

       The defendant told the CS that the defendant needed to “slow down” from his

manufacturing and selling of unserialized firearms. He told the CS that over the last 8 to

9 previous months, he had manufactured and sold about 170 to 200 unserialized firearms,

but that he had gone to jail for a shooting the previous August, and had lost about $50,000,

about 30 firearms, about 20 pounds of weed, and 6 pounds of wax. The defendant also told

the CS that he had also traveled to the Twin Cities Metro area in order to sell his

unserialized firearms to “rappers” and other individuals unknown to the CS. Finally, before

carrying the black tote with the firearms and accessories to the CS’s vehicle, the defendant

told the others present that they would “smoke a blunt” afterwards and that he had one

rolled up already.




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      On May 4, 2022, Investigators executed a search warrant at

the defendant’s residence in Sauk Rapids, MN, and recovered from

                                the basement a WEN-brand drill

                                press, a box containing four AR10 / AR15 lower jigs,

                                various jig bolts and jig pieces, tooling end-mill

                                instructions, a baggie

with hex wrenches (commonly found in jig kits) on

top of a placemat diagramming how to assemble a

Glock firearm, stickers for Polymer 80 and gun

manufacturing companies, two unopened tubes of welding epoxy, and various indicia of

the defendant’s occupancy. Several of the jigs had metal shavings on them near holes that

appeared to have been used for drilling.




      Investigators also obtained and executed search warrants on the defendant’s two cell

phones and discovered additional evidence of firearms sales and trafficking and marijuana

use and sales. (PSR ¶¶ 17-18) During one text exchange in November 2021 with a person

named “TWIGGZ,” the person indicated they just “got hit in Wisconsin,” which is

reasonably inferred to mean charged in a criminal case. In February 2022, the defendant


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texted a photo of nine P80s and one P80 with an extended magazine and four high-capacity

drum magazines to Twiggz. When Twiggz asked for a “price,” the defendant offered “all

the straps” (i.e., firearms) at “9 a pop” (i.e., $900 each), and offered the “mags like 150

each,” but noted he could work with bulk prices as well. The defendant also stated he

would “have ARs soon as well.” Twiggz later responded, “love my guns,” but that he had

to lay low because he was “not supposed to even be around a damn pocket knife.” The

defendant replied, “On good same here.”

       The defendant’s cell phones also contained multiple emails related to the purchasing

of materials to manufacture firearms or accessories between February and April 2022, with

shipping confirmations to the same address where investigators executed the warrant and

discovered the drill press, manufacturing kits, and jigs.

       In another video dated September 2021, which the defendant called his “Intro,” the

defendant appears to market his manufactured firearms and marijuana, while displaying a

large stack of cash, which he states is $10,000. The defendant states he’s looking to do

some business, and displays a large vacuum-sealed approximate gallon-sized bag of

marijuana buds, AR-15 style firearms, upper and lower receivers, P80 firearms, and a

silencer.




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          In July 2022, a grand jury returned a three-count Indictment, charging the defendant

with willfully engaging in the business of manufacturing firearms without a license, in

violation of 18 U.S.C. § 922(a)(1)(A) and 924(a)(1)(D), which carries a statutory

maximum term of 5 years’ imprisonment (Count 1); possession of a machinegun, in

violation 18 U.S.C. §§ 922(o)(1) and 924(a)(2), which carries a statutory maximum term

of 10 years’ imprisonment (Count 2); and possession of an unregistered firearm (i.e., the

silencer), in violation of 26 U.S.C. §§ 5681(d) and 5871, which carries a statutory

maximum term of 10 years’ imprisonment (Count 3). (PSR ¶¶ 1, 85, 87; ECF 18)

          On September 28, 2022, the defendant pleaded guilty to willfully engaging in the

business of manufacturing firearms without a license, (Count 1), in accord with a plea

agreement filed with the Court. (PSR ¶¶ 2-4; ECF 34, 35)

          On February 10, 2023, the United States Probation Office issued its Final PSR,

finding the defendant’s total offense level to be 25 and his criminal history category to be

I,3 resulting in an effective advisory Guidelines’ range of 57 to 60 months’ imprisonment,

because of the statutory maximum. (PSR ¶¶ 36, 45, 86; USSG § 5G1.1(c)(1)) The PSR’s

Guidelines calculations did not differ from those contemplated by the plea agreement.

(PSR ¶¶ 2, 88; ECF 35, ¶¶ 5.f.)

                                             ARGUMENT

          In following the sentencing methodology laid out by the Supreme Court, “a district

court should begin all sentencing proceedings by correctly calculating the applicable



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    The PSR determined that the defendant had one criminal history point. (PSR ¶ 45)


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Guidelines range.” Gall v. United States, 552 U.S. 38, 49 (2007). “[A]fter giving both

parties an opportunity to argue for whatever sentence they deem appropriate, the district

judge should then consider all of the § 3553(a) factors to determine whether they support

the sentence requested by a party.” Id. at 49-50. Section 3553(a) requires the Court to

consider a number of factors, including “the nature and circumstances of the offense,” “the

history and characteristics of the defendant,” “the need for the sentence to reflect the

seriousness of the offense,” “the need for deterrence,” “the need to protect the public from

further crimes of the defendant,” and “the need to avoid unwarranted disparities.” 18

U.S.C. § 3553(a). But a district court is not required to provide a mechanical recitation of

the Section 3553(a) factors and “has wide latitude to weigh the § 3553(a) factors in each

case and assign some factors greater weight than others in determining an appropriate

sentence.” United States v. Wisecarver, 911 F.3d 554, 557 (8th Cir. 2018); United States

v. Ballard, 872 F.3d 883, 885 (8th Cir. 2017); United States v. San-Miguel, 634 F.3d 471,

475-76 (8th Cir. 2011).

       A.     The Guidelines Calculations

       The United States agrees with the calculated total offense level of 25 and criminal

history category of I, resulting in an effective Guidelines range of 57 to 60 months’

imprisonment, given the statutory maximum sentence.

       The defendant, however, objects to two Guidelines calculations. First, the defendant

objects to the base offense level being 20 (under USSG § 2K2.1(a)(4)(B)), because he

claims being a unlawful user of a controlled substance is purportedly unconstitutionally

vague since a person must assess “whether at a particular moment in time they are a


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‘prohibited person’ due to past or present use of a controlled substance.” (PSR Add. A.3,

¶ 3) Second, the defendant objects to the four-level increase under USSG § 2K2.1(b)(5)

for trafficking of firearms, because he claims there are insufficient facts to establish that he

intended to transfer two or more firearms to a prohibited person or that he knew or had

reason to believe that the CS or another of his customers was a prohibited person as

required by the Guidelines enhancement. (PSR Add. A.5, ¶ 4) The facts in the PSR, and

the facts admitted to in the plea agreement, as corroborated by the evidence discussed

above and to be proffered at the sentencing hearing, however, readily show by a

preponderance of the evidence that the defendant was an unlawful user of a controlled

substance in and around the time he possessed multiple firearms and that he trafficked in

firearms within the meaning of the Guidelines enhancement. Accordingly, as found by the

PSR, the base offense level is properly 20, and the four-level enhancement is warranted.

       1. Unlawful user in possession

       In support of his objection to being an unlawful user in possession of firearms, the

defendant cites and relies on United States v. Bramer, 832 F.3d 908, 909 (8th Cir. 2016),

for the proposition that it is “plausible” that the term “unlawful user” could be

constitutionally vague, even though Bramer rejected the constitutional challenge where

there was sufficient evidence of the defendant’s use of marijuana while in knowing

possession. (PSR Add. at A.4) In any event, as discussed below, several Eighth Circuit

decisions since Bramer have sustained convictions based on being an unlawful user of

marijuana in possession of a firearm, (on even less evidence than in the present case)

making the dicta of Bramer of no import.


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       The defendant also cites United States v. Carnes, 22 F.3d 743, 748 (8th Cir. 2022),

reh’g denied, No. 20-3170, 2022 WL 540599 (8th Cir. Feb. 23, 2022), and cert. denied,

143 S. Ct. 370 (2022), to support his assertion that the defendant’s use of marijuana is

insufficient to establish a specific temporal nexus between regular use and his unlawful

possession of firearms. (PSR Add. at A.4) But “[t]he government is not required to prove

that the defendant possessed the firearm while contemporaneously using a controlled

substance. United States v. Mack, 343 F.3d 929, 933 (8th Cir.2003). It is sufficient for the

government to demonstrate use of a controlled substance ‘during the period of time’ that

the defendant possessed firearms, not that there was actual use ‘at the time that the officers

discovered [the defendant] in possession of firearms.’ Id.” United States v. Rodriguez, 711

F.3d 928, 937 (8th Cir. 2013). Moreover, the Carnes court “reject[ed] [the defendant’s]

expansive interpretation of ‘regular drug use’ that would require evidence of use over an

extended period. While some of our sister circuits require proof that a defendant used

controlled substances regularly over an extended period, . . . we declined to adopt such a

rigorous definition.” Carnes, 22 F.4th at 749.

       In United States v. Glinn, 863 F.3d 985, 989 (8th Cir. 2017), the court rejected a

sufficiency-of-the-evidence claim based on the words of the defendant alone that he was

occasionally using marijuana. “At the time of the traffic stop, Glinn told the officer that

he was now on a ‘straight path,’ and he would ‘chill’ with his girl—‘eat, chill, do a little

smokin’, I ain’t gonna lie to ya, I smoke, I chill, hang with my girl, and I stay off the street.’

The officer testified at sentencing that he concluded from Glinn’s comments that he was


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talking about marijuana, not cigarettes.” Id. The court concluded that “[t]his evidence,

alone, support[ed] the district court’s base offense level determination under clear error

review” that the defendant was an unlawful user of marijuana in possession of a firearm,

under the applicable Guidelines provision.

       More recently, in United States v. Banks, 43 F.4th 912, 918-19 (8th Cir. 2022), the

Eighth Circuit rejected a claim of insufficient evidence to sustain a verdict of being an

unlawful user of marijuana in possession of a firearm on significantly less evidence of

marijuana use than in the present case, which the court deemed constituted “substantial

evidence.” In Banks, the defendant told an officer during a traffic stop that “he had some

‘smoke’ and retrieved a baggie of marijuana from the Altima’s glove compartment. Once

detained, Banks admitted he ‘had a little bit of marijuana.’” Id. at 919. The officer also

“observed marijuana crumbs throughout the car, and discovered a used blunt and

methamphetamine elsewhere in the cabin. The government also presented the images of

apparent marijuana on Banks’s cellular phone, and a video that showed him smoking a

blunt in the rental car two days before the stop.” Id. The court concluded that a reasonable

jury could readily have found that the defendant was an unlawful user of a controlled

substance and sustained the conviction. See id.

       If the substantially less significant evidence of temporal marijuana use in the above

cases warrant a base offense level for being a prohibited person as an unlawful user of

marijuana under the Guidelines, then certainly the substantially more significant evidence

of the defendant’s temporal marijuana use in the present case warrants no less.

Accordingly, the PSR properly determined the base offense level to be 20. (PSR ¶ 26)


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         2. Trafficking in firearms enhancement

         The defendant next claims that there is insufficient evidence that the defendant

engaged in trafficking firearms within the meaning of USSG § 2K2.1(b)(5).                   The

government is seeking an evidentiary hearing and will offer the testimony of the case agent

in further support of this enhancement. But as the PSR correctly found, there is sufficient

evidence the defendant knew or had reason to believe his conduct would result in the

transport, transfer, or disposal of a firearm to an individual who intended to use or dispose

of the firearm unlawfully. (PSR Add. at A.5) (emphasis added).

         A defendant engaged in the trafficking of firearms if he:

         (i) transported, transferred, or otherwise disposed of two or more firearms to
         another individual, or received two or more firearms with the intent to
         transport, transfer, or otherwise dispose of firearms to another individual; and

         (ii) knew or had reason to believe that such conduct would result in the
         transport, transfer, or disposal of a firearm to an individual—

         (I) whose possession or receipt of the firearm would be unlawful; or

         (II) who intended to use or dispose of the firearm unlawfully.

United States v. Pepper, 747 F.3d 520, 525 (8th Cir. 2014) (quoting USSG § 2K2.1, cmt.

n.13).

         In Pepper, the defendant, among other things, transferred an unregistered

machinegun to another person. Id. Because 26 U.S.C. § 5861(d) proscribes the receipt

and possession of certain firearms, including machineguns, absent proper federal

registration, the Eighth Circuit found the firearms-trafficking enhancement applied in part

based on the second prong that the person intended to use or dispose of the firearm

unlawfully. Id. The court reasoned that because the machinegun that Pepper transferred

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to the other person was not registered, it made the other person’s “possession of it

necessarily unlawful.” Id. Accordingly, the court found that the district court did not err

in applying the trafficking-in-firearms enhancement. See id.

       Similarly, in United States v. Lomax, 910 F.3d 1068, 1070 (8th Cir. 2018), the

defendant’s transfer of an unregistered automatic weapon and a grenade, in violation of 26

U.S.C. § 5861(d), created “circumstances known to Lomax at the time of the sale, [that] he

had reason to believe that the source intended to use the weapons unlawfully.” Id. The

court reasoned that “[t]his fact alone rendered possession of the weapon by both Lomax

and the confidential source ‘necessarily unlawful.’” Id. (quoting Peppers, 747 F.3d at 525).

Additionally, the court noted that “the nature of the sale was clandestine,” which therefore

supported an inference of unlawful intent. Id. (noting that defendant and confidential

source “exchanged $1,000 in cash for unregistered, highly dangerous, military-style

weapons that were concealed in a tool case. Based on the nature of the weapons and the

circumstances under which they were exchanged, Lomax had reason to believe that the

confidential source, whose mere possession of the weapons was unlawful, also intended to

use the weapons unlawfully.”).

       Under a preponderance of the evidence, the trafficking-in-firearms enhancement

equally applies here for the same reasons. The defendant sold an unregistered silencer and

an unregistered machinegun to the CS, among other firearms that the defendant touted as

supporting unlawful purposes because they were hard to trace, for $20,000 cash, that were

concealed in a plastic tote.     The mere possession of the unregistered silencer and

machinegun by the CS was unlawful, which provides ample support to reasonably infer by


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a preponderance of the evidence that the defendant had reason to believe that the CS also

intended to use the weapons unlawfully. The holdings and reasoning of the Pepper and

Lomax decisions readily supports the application of the trafficking-in-firearms

enhancement.

       Additionally, the defendant knew that the CS intended to transfer the firearms the

defendant was selling to the CS to others who were seeking switches under clandestine and

suspicious circumstances, thereby affording the defendant a “common-sense inference[]”

that the CS “intended to use or dispose of the firearm[s] unlawfully.” See United States v.

Whitaker, 633 F. App’x 104, 105 (4th Cir. 2015) (permitting reliance on “common-sense

inferences drawn from circumstantial evidence when determining applicability of a

§ 2K2.1(b)(5) enhancement.”); see id. (“While there was no direct evidence that Whitaker

knew that the purchasers planned to use or dispose of the firearms unlawfully, we conclude

that the court did not clearly err by inferring from the totality of the circumstances that

Whitaker had reason to believe that the purchasers’ intentions with the firearms were not

lawful.”).

       Moreover, the CS was not the defendant’s only customer who provided the

defendant with a reasonable basis to believe would use the firearms he was selling

unlawfully. The defendant’s offer to sell Twiggz nine to ten P80s with extended drum

magazines, where Twiggz expressly told the defendant that he was prohibited from even

being near “a damn pocketknife,” also provided the defendant with reason to believe that

Twiggz “intended to use or dispose of the firearm[s] unlawfully.” Accordingly, the PSR

properly applied the four-level enhancement for trafficking-in-firearms.


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      After properly applying the base offense level and the specific offense characteristic

enhancements, the PSR properly calculated total offense level of 25 and criminal history

category of I, resulting in an effective Guidelines range of 57 to 60 months’ imprisonment.

      For the following reasons, the United States advocates for a sentence of 60 months’

imprisonment, as a sentence that is sufficient, but not greater than necessary, to comply

with the purposes set forth in Section 3553(a)(2). The United States also advocates for a

supervised-release term of three years, with conditions that include having the defendant

and his premises and property subject to search on reasonable suspicion of contraband or

other violation of his supervised-release terms. The United States further advocates for a

recommendation of the RDAP drug-treatment program and mental health assessment and

treatment while the defendant is incarcerated with the BOP.

      B.      The 3553(a) Factors

      A consideration of the 3553(a) factors warrants a sentence of 60 months’

imprisonment.

              1.     Nature and Circumstances of the Offense

      Even while charged with multiple felonies involving assaultive use and illegal

discharge of a firearm, and while under court order to “not possess any firearms,” and to

surrender his firearms to law enforcement within 48-hours of his release, the defendant

willfully engaged in unlicensed manufacturing of unsearialized firearms and an

unregistered silencer, possession of an unregistered machinegun, and engaged in unlawful

trafficking of firearms under clandestine circumstances for significant amounts of cash.

While the defendant claims ad-hoc that his statements of manufacturing and selling nearly


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200 PMFs were mere puffery, the totality of the circumstances and the defendant’s intimate

knowledge of, ready access to, and possession of multiple PMFs, assembly kits, and

manufacturing tools, readily implies otherwise. The circumstances surrounding his felony

charges of unlawful use of a firearm in Stearns County also counter the defendant’s belated

claim of braggadocio. Rather, it appears from the totality of the circumstances and the

overwhelming evidence that the defendant was willfully engaged in significant unlicensed

manufacture, sale, and trafficking of untraceable PMFs, machinegun conversion devices,

unregistered silencers, and AR-style weapons, all while using and possessing self-admitted

large quantities of high-grade marijuana. The nature and circumstances of the offense

warrants a sentence of 60 months’ imprisonment.

       No doubt too that the defendant’s manufacture and trafficking in PMFs contributed

significantly to the rise in crime and use of PMFs, which make law enforcement of gun

crimes substantially more difficult to prosecute. According to the Attorney General’s

Office, between January 2016 and December 2020, there were approximately 23,906

suspected PMFs reported to the ATF as having been recovered by law enforcement,

including in connection with 325 homicides or attempted homicides. While in 2016, local

law enforcement reported to ATF 1,750 suspected PMFs, by 2020, that number had grown

to 8,712—an increase of over 400%.

       While the defendant’s criminal history is relatively minimal, he must still be held

accountable for his willfully committed crime. A sentence of 60 months’ imprisonment is

warranted—especially given that the defendant gained the benefit of pleading to a five-




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year statutory maximum count, rather than either of the other two ten-year statutory

maximum counts.

              2.     History and Characteristics of the Defendant

       The United States submits that the PSR accurately and adequately describes the

defendant’s criminal history, personal history, and characteristics. Although only 22 years

old, the defendant appears to be on a path of significant felonious behavior, including use

and sale of large quantities of high-grade marijuana combined with felonious

manufacturing, use, and trafficking of firearms.

       To the defendant’s credit he has voluntarily participated in a mental health therapy

program since July 2022, and completed a six-week psycho-education group with dual

behavioral therapies. No doubt the defendant could benefit from structured programming

and educational opportunities, substance abuse treatment, and mental health treatment

while incarcerated at BOP and when placed on supervised released. The defendant appears

to be at a significant cross-roads in his life, with two possible yet quite divergent paths. It

is hoped that he will obtain the necessary assessment and treatment he needs, accept

sobriety and lawful behavior, be successful on supervised release following his release

from BOP, and become a productive member of society—leaving the path of crime and

drug use.

              3.     Needs of Sentencing and Other 3553(a) Factors

       A sentence of 60 months is also warranted by the needs of sentencing and other

§ 3553(a) factors. While certainly some mitigating factors exist, such as the defendant’s

lack of education, no contact with his biological father, struggle with school and bullying,


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somewhat dysfunctional upbringing, and perhaps misdiagnosed mental health issues, the

defendant was nevertheless raised in a generally good environment with a caring family,

and no prevalence of physical violence or abuse in his home, and with adequate financial

support. But aggravating factors also warrant consideration such as the very serious nature

of the offense and the incredibly negative impact the offense has very likely had on the

skyrocketing levels of gun violence experienced over the last few years. A sentence of 60

months will provide adequate deterrence for the defendant as an individual, and to others

by showing that unlicensed manufacturing (and trafficking) of untraceable firearms is a

serious felony crime. See Ferguson v. United States, 623 F.3d 627, 632 (8th Cir. 2010)

(“Congress specifically made general deterrence an appropriate consideration . . . and [the

Eighth Circuit has] described it as ‘one of the key purposes of sentencing.’”) (quoting

United States v. Medearis, 451 F.3d 918, 920 (8th Cir. 2006)).

       On balance, a sentence of 60 months would serve the needs of sentencing to reflect

the seriousness of the offense, to promote respect for the law, to provide just punishment

for the offense, to afford adequate deterrence, to protect the public from further crimes of

the defendant, and to avoid unwarranted sentencing disparities among defendants.

                                     CONCLUSION

       For all the foregoing reasons, the United States respectfully recommends that the

Court impose a sentence of 60 months’ imprisonment and a three-year term of supervised

release, including conditions of substance abuse treatment, mental health treatment, and




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requiring the defendant and his residence be subject to search upon reasonable suspicion

of contraband or other supervised-release violation.

                                                 Respectfully submitted,

Dated: March 6, 2023                             ANDREW M. LUGER
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                                                 /s/ Benjamin Bejar
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                                                 Attorney ID No. 351131




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